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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                                  .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                         15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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 DEFENDANT’S SUBMISSION REGARDING “SEARCH TERMS” AND NOTICE OF
                 COMPLIANCE WITH COURT ORDER
         CONCERNING FORENSIC EXAMINATION OF DEVICES




                                                                                                  Laura A. Menninger
                                                                                                  Jeffrey S. Pagliuca
                                                                                                  HADDON, MORGAN, AND FOREMAN, P.C.
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              documents relating otherwise to Plaintiff including her hospital records (RFP 25),
               passport (RFP 26), monetary payments made to her (RFP 27), her employment
               (RFP 28), and any person to whom she gave a massage (RFP 29).

       Ms. Maxwell conducted a thorough search of her email systems and her devices prior to

her production on February 8, 2016. All documents identified as responsive were reviewed by

counsel and either produced or placed on a privilege log. The First Responses were the subject

of litigation in March and April 2016. This Court limited the scope of a number of the requests

(see Transcript of March 17, 2016 and Order of April 15, 2016 (Doc. # 098), and Ms. Maxwell

later produced, pursuant to this Court’s Order, documents that originally had been withheld

pursuant to privilege. As of April 18, Ms. Maxwell’s production of documents responsive to

Plaintiff’s First Request for Production of Documents was complete.

       Plaintiff served a Second set of Requests for Production on April 14. Those Requests

primarily concerned police reports about Plaintiff’s various contacts with law enforcement and

how the defense was able to obtain those publicly-available documents (RFP’s 1-5, 19). The

Second Requests also sought:

              Joint Defense Agreements with Mr. Epstein and Mr. Dershowitz (RFPs 6, 7, 9
               and 10) and communications with Mr. Dershowitz’s counsel (RFP 11);

              “all documents concerning Virginia Giuffre” (RFP 12);

              any contracts with or agreement for legal fees to be paid by Epstein (RFP 13-15);

              documents concerning public statements made by Ms. Maxwell (RFP 17-18).

       Again, Ms. Maxwell and her counsel conducted a thorough search and produced any

responsive non-privileged documents.

       To date, Ms. Maxwell has produced 1,130 pages of documents. Litigation concerning

whether the searches conducted were thorough enough then ensued leading to the instant

submission.


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searched yet there is no RFP related to those names, nor the vast majority of the other listed first

and surnames.1

         By correspondence of July 14, Ms. Maxwell’s counsel specifically identified the

problematic terms, agreed to a limited list, and requested a substantive conferral call on this

issue. See Menninger Decl., Ex. B. In that correspondence, Defendant’s counsel gave specific

reasons for the objection to a number of the terms that were problematic in that they called for

the search of common words, names or phrases that would likely result pulling documents

completely unrelated to this case. Id. Counsel also suggested proposed limiting terms with

respect to names of individuals to appropriately limit the scope and target the search. Id.

(suggesting limitations on searches of names to “make some effort to match them to actual

people who have some relationship to this case (like first name /3 last name or some parts

thereof)”).

         After explaining the appropriate and well-reasoned objections to certain terms, defense

Counsel agreed to search over 110 of Plaintiff’s proposed search terms, despite the fact that

many of those terms were objectionable. Id. (“Although many of your other search terms are a

         1
            On or about June 27, 2016, Plaintiff’s counsel Bradley Edwards and Defendant’s counsel Jeffery Pagliuca
held a telephone meet and confer conference on a number of issues. Among the issues raised by Mr. Pagliuca was
the overbreadth of the proposed search terms. The discussion was left that Mr. Edwards would talk with Plaintiff’s
team of lawyers to narrow the scope, as Mr. Pagliuca understood it. Thus, contrary to the representation in the
Motion, Ms. Maxwell’s counsel did inform Plaintiff’s counsel of their disagreement with the proposed search terms.
As well, Mr. Pagliuca informed Mr. Edwards that because he, Laura Menninger and Ms. Maxwell were all traveling
on vacations in the weeks before and after the 4th of July holiday, that they would need additional time to comply
with the Court’s Order and provide the production. Mr. Pagliuca and Mr. Edwards agreed that productions would be
made prior to Ms. Maxwell’s second deposition, scheduled by agreement on July 22, 2016.
          Based on this discussion, defense counsel was blindsided when they received the Motion for Sanctions,
anticipating that they would soon be receiving a substantially limited and modified list of proposed search terms to
permit search and production prior to the July 22 deposition. In the interim, all of Ms. Maxwell’s electronic devices
had been sent for imaging.
          Defense counsel corresponded with Plaintiff’s counsel upon receipt of the Motion for Sanctions, requesting
that it be withdrawn (without prejudice), pending completion of conferral on the search terms as required by this
Court’s specific and general orders on conferral. It appears there was a miscommunication between Plaintiff’s own
counsel on this issue, as well as between counsel for both of the parties; but, it was clearly just that – a
miscommunication and misunderstanding on where things stood.


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with anyone that Plaintiff believed was or might be a witness, although no discovery requests

called for such communications.

       Consequently, during the conferral call, Plaintiff’s counsel agreed to withdraw the vast

majority of objectionable terms. She also agreed to supply a list of witnesses who she believes

truly might in some way relate to “massages” and submit that to defense counsel. See

Menninger Decl., Ex. D. Plaintiff thereafter provided an additional 66 terms, all names, which

Plaintiff claims she has some reason to believe are “related to massages.” Menninger Decl. Ex.

E. Ms. Maxwell does not believe that searching these terms is appropriate, because, for example,

the names include a journalist (Vicky Ward), Mr. Epstein’s elderly secretary, and various

business people that form part of Plaintiff’s false narrative regarding her “sex trafficking,” and

searching for names in the absence of a topic (i.e., massages) is well-beyond the actual requests

for production.

        Nevertheless, Ms. Maxwell did in fact run all of the names proposed by Plaintiff against

the forensic images of Ms. Maxwell’s computers and her email accounts. The second search

yielded 284 additional documents, each of which were reviewed individually by counsel for Ms.

Maxwell. Menninger Decl. paragraph 8 and 9. Again, not a single responsive, non-privileged

document was located; the vast majority of documents were pleadings from this case.

       The complete list of terms run against Ms. Maxwell’s electronic devices and email

accounts as agreed to by the parties is attached. Menninger Decl., Ex. F. Compliance with the

Court’s Order to run agreed to terms was completed by July 21, 2016, prior to Ms. Maxwell’s

second deposition.




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       Ms. Maxwell hereby respectfully requests that:

       i.     Plaintiff Virginia Giuffre’s Motion for an Adverse Inference Instruction Pursuant

              to Rule 37(b), (e) and (f), Fed. R. Civ. P., be stricken;

       ii.    Ms. Maxwell be awarded the costs of engaging the forensic examiner.

Dated: August 1, 2016.



                                                 Respectfully submitted,



                                                 /s/ Laura A. Menninger
                                                 Laura A. Menninger (LM-1374)
                                                 Jeffrey S. Pagliuca (pro hac vice)
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                                                 Attorneys for Ghislaine Maxwell




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                               CERTIFICATE OF SERVICE

       I certify that on August 1, 2016, I electronically served this Defendant’s Submission
regarding “Search Terms” and Notice of Compliance with Court Order Concerning Forensic
Examination of Computer Device via ECF on the following:

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                                                /s/ Nicole Simmons
                                                Nicole Simmons




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